Case 1:17-cv-01323-MN Document 13-1 Filed 09/26/17 Page 1 of 54 PageID #: 121




                      EXHIBIT A
Case 1:17-cv-01323-MN Document 13-1 Filed 09/26/17 Page 2 of 54 PageID #: 122
Case 1:17-cv-01323-MN Document 13-1 Filed 09/26/17 Page 3 of 54 PageID #: 123
Case 1:17-cv-01323-MN Document 13-1 Filed 09/26/17 Page 4 of 54 PageID #: 124
Case 1:17-cv-01323-MN Document 13-1 Filed 09/26/17 Page 5 of 54 PageID #: 125
Case 1:17-cv-01323-MN Document 13-1 Filed 09/26/17 Page 6 of 54 PageID #: 126
Case 1:17-cv-01323-MN Document 13-1 Filed 09/26/17 Page 7 of 54 PageID #: 127
Case 1:17-cv-01323-MN Document 13-1 Filed 09/26/17 Page 8 of 54 PageID #: 128
Case 1:17-cv-01323-MN Document 13-1 Filed 09/26/17 Page 9 of 54 PageID #: 129
Case 1:17-cv-01323-MN Document 13-1 Filed 09/26/17 Page 10 of 54 PageID #: 130
Case 1:17-cv-01323-MN Document 13-1 Filed 09/26/17 Page 11 of 54 PageID #: 131
Case 1:17-cv-01323-MN Document 13-1 Filed 09/26/17 Page 12 of 54 PageID #: 132
Case 1:17-cv-01323-MN Document 13-1 Filed 09/26/17 Page 13 of 54 PageID #: 133
Case 1:17-cv-01323-MN Document 13-1 Filed 09/26/17 Page 14 of 54 PageID #: 134
Case 1:17-cv-01323-MN Document 13-1 Filed 09/26/17 Page 15 of 54 PageID #: 135
Case 1:17-cv-01323-MN Document 13-1 Filed 09/26/17 Page 16 of 54 PageID #: 136
Case 1:17-cv-01323-MN Document 13-1 Filed 09/26/17 Page 17 of 54 PageID #: 137
Case 1:17-cv-01323-MN Document 13-1 Filed 09/26/17 Page 18 of 54 PageID #: 138
Case 1:17-cv-01323-MN Document 13-1 Filed 09/26/17 Page 19 of 54 PageID #: 139
Case 1:17-cv-01323-MN Document 13-1 Filed 09/26/17 Page 20 of 54 PageID #: 140
Case 1:17-cv-01323-MN Document 13-1 Filed 09/26/17 Page 21 of 54 PageID #: 141
Case 1:17-cv-01323-MN Document 13-1 Filed 09/26/17 Page 22 of 54 PageID #: 142
Case 1:17-cv-01323-MN Document 13-1 Filed 09/26/17 Page 23 of 54 PageID #: 143
Case 1:17-cv-01323-MN Document 13-1 Filed 09/26/17 Page 24 of 54 PageID #: 144
Case 1:17-cv-01323-MN Document 13-1 Filed 09/26/17 Page 25 of 54 PageID #: 145
Case 1:17-cv-01323-MN Document 13-1 Filed 09/26/17 Page 26 of 54 PageID #: 146
Case 1:17-cv-01323-MN Document 13-1 Filed 09/26/17 Page 27 of 54 PageID #: 147
Case 1:17-cv-01323-MN Document 13-1 Filed 09/26/17 Page 28 of 54 PageID #: 148
Case 1:17-cv-01323-MN Document 13-1 Filed 09/26/17 Page 29 of 54 PageID #: 149
Case 1:17-cv-01323-MN Document 13-1 Filed 09/26/17 Page 30 of 54 PageID #: 150
Case 1:17-cv-01323-MN Document 13-1 Filed 09/26/17 Page 31 of 54 PageID #: 151
Case 1:17-cv-01323-MN Document 13-1 Filed 09/26/17 Page 32 of 54 PageID #: 152
Case 1:17-cv-01323-MN Document 13-1 Filed 09/26/17 Page 33 of 54 PageID #: 153
Case 1:17-cv-01323-MN Document 13-1 Filed 09/26/17 Page 34 of 54 PageID #: 154
Case 1:17-cv-01323-MN Document 13-1 Filed 09/26/17 Page 35 of 54 PageID #: 155
Case 1:17-cv-01323-MN Document 13-1 Filed 09/26/17 Page 36 of 54 PageID #: 156
Case 1:17-cv-01323-MN Document 13-1 Filed 09/26/17 Page 37 of 54 PageID #: 157
Case 1:17-cv-01323-MN Document 13-1 Filed 09/26/17 Page 38 of 54 PageID #: 158
Case 1:17-cv-01323-MN Document 13-1 Filed 09/26/17 Page 39 of 54 PageID #: 159
Case 1:17-cv-01323-MN Document 13-1 Filed 09/26/17 Page 40 of 54 PageID #: 160
Case 1:17-cv-01323-MN Document 13-1 Filed 09/26/17 Page 41 of 54 PageID #: 161
Case 1:17-cv-01323-MN Document 13-1 Filed 09/26/17 Page 42 of 54 PageID #: 162
Case 1:17-cv-01323-MN Document 13-1 Filed 09/26/17 Page 43 of 54 PageID #: 163
Case 1:17-cv-01323-MN Document 13-1 Filed 09/26/17 Page 44 of 54 PageID #: 164
Case 1:17-cv-01323-MN Document 13-1 Filed 09/26/17 Page 45 of 54 PageID #: 165
Case 1:17-cv-01323-MN Document 13-1 Filed 09/26/17 Page 46 of 54 PageID #: 166
Case 1:17-cv-01323-MN Document 13-1 Filed 09/26/17 Page 47 of 54 PageID #: 167
Case 1:17-cv-01323-MN Document 13-1 Filed 09/26/17 Page 48 of 54 PageID #: 168
Case 1:17-cv-01323-MN Document 13-1 Filed 09/26/17 Page 49 of 54 PageID #: 169
Case 1:17-cv-01323-MN Document 13-1 Filed 09/26/17 Page 50 of 54 PageID #: 170
Case 1:17-cv-01323-MN Document 13-1 Filed 09/26/17 Page 51 of 54 PageID #: 171
Case 1:17-cv-01323-MN Document 13-1 Filed 09/26/17 Page 52 of 54 PageID #: 172
Case 1:17-cv-01323-MN Document 13-1 Filed 09/26/17 Page 53 of 54 PageID #: 173
Case 1:17-cv-01323-MN Document 13-1 Filed 09/26/17 Page 54 of 54 PageID #: 174
